     Case 4:20-cv-05146-YGR          Document 707      Filed 06/15/22    Page 1 of 5




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19 Counsel for Defendant Google LLC

20                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
21                                  OAKLAND DIVISION

22   PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
23                                                    DECLARATION OF JONATHAN TSE IN
            Plaintiffs,                               SUPPORT OF PLAINTIFFS’
24                                                    ADMINISTRATIVE MOTION TO
            v.                                        CONSIDER WHETHER
25                                                    ANOTHER PARTY’S MATERIAL
     GOOGLE LLC,                                      SHOULD BE SEALED
26
                                                      RE: MOTION TO MODIFY SPECIAL
27          Defendant.                                MASTER REPORT (DKT. 690)

28                                                    Referral: Hon. Susan van Keulen, USMJ

                                                                     Case No. 4:20-cv-5146-YGR-SVK
                                TSE DECLARATION ISO PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR          Document 707         Filed 06/15/22      Page 2 of 5




 1         I, Jonathan Tse, declare as follows:
 2         1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6         2.      I am making this declaration pursuant to Civil Local Rule 79-5(e)-(f) as an attorney
 7 for Google as the Designating Party, pursuant to Civil Local Rule 79-5(f)(3).

 8         3.      On June 8, 2022, Plaintiffs filed an Administrative Motion to Consider Whether
 9 Another Party’s Material Should Be Sealed re: Plaintiffs’ Objections and Motion to Modify Special
10 Master Report and Recommendation (Dkt. 690).

11         4.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to Civil
12 Local Rule 79-5. Based on my review, there is good cause to seal the following information:

13

14                Document                                       Basis for Sealing
     Plaintiffs’ Objections and Motion     The information requested to be sealed contains Google’s
15   to Modify Special Master R&R          highly confidential and proprietary information regarding
16   Re: Modified Preservation Plan        highly sensitive features of Google’s internal systems and
     (Dkt. 665) at                         operations, including various types of Google’s internal
17                                         project, data signals, and logs and their proprietary
     1:9-11, 1:17, 1:19, 5:18-20, 5:23-    functionalities, that Google maintains as confidential in the
18   24, 6:2, 6:8, 6:10, 6:18, 6:21-22,    ordinary course of its business and is not generally known
     7:1, 7:3-5, 7:8, 7:23, 8:2-3, 8:17-   to the public or Google’s competitors. Such confidential and
19   19, 8:22-24, 9:1-4, 9:6, 9:9-12,      proprietary information reveals Google’s internal strategies,
20   9:13-21, 9:27, and 10:8-10            system designs, and business practices for operating and
                                           maintaining many of its important services, and falls within
21                                         the protected scope of the Protective Order entered in this
                                           action. See Dkt. 81 at 2-3. Public disclosure of such
22                                         confidential and proprietary information could affect
                                           Google’s competitive standing as competitors may alter
23
                                           their systems and practices relating to competing products.
24                                         It may also place Google at an increased risk of
                                           cybersecurity threats, as third parties may seek to use the
25                                         information to compromise Google’s internal practices
                                           relating to competing products.
26   Declaration of David Straite in       The information requested to be sealed contains Google’s
     Support of Plaintiffs’ Objections     highly confidential and proprietary information regarding
27
     and Motion to Modify at               highly sensitive features of Google’s internal systems and
28                                         operations, including various types of Google’s internal

                                                  1                 Case No. 4:20-cv-5146-YGR-SVK
                               TSE DECLARATION ISO PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR       Document 707      Filed 06/15/22    Page 3 of 5




 1   1:14-15, 1:17-21           project, data signals, and logs and their proprietary
                                functionalities, that Google maintains as confidential in the
 2                              ordinary course of its business and is not generally known
                                to the public or Google’s competitors. Such confidential and
 3
                                proprietary information reveals Google’s internal strategies,
 4                              system designs, and business practices for operating and
                                maintaining many of its important services, and falls within
 5                              the protected scope of the Protective Order entered in this
                                action. See Dkt. 81 at 2-3. Public disclosure of such
 6                              confidential and proprietary information could affect
 7                              Google’s competitive standing as competitors may alter
                                their systems and practices relating to competing products.
 8                              It may also place Google at an increased risk of
                                cybersecurity threats, as third parties may seek to use the
 9                              information to compromise Google’s internal practices
                                relating to competing products.
10   Exhibit    A   (GOOG-CALH- The information requested to be sealed contains Google’s
11   01170421) at               highly confidential and proprietary information regarding
                                highly sensitive features of Google’s internal systems and
12   Entirety                   operations, including various types of Google’s internal data
                                signals and logs and their proprietary functionalities, that
13                              Google maintains as confidential in the ordinary course of
                                its business and is not generally known to the public or
14
                                Google’s competitors. Such confidential and proprietary
15                              information reveals Google’s internal strategies, system
                                designs, and business practices for operating and
16                              maintaining many of its important services, and falls within
                                the protected scope of the Protective Order entered in this
17                              action. See Dkt. 81 at 2-3. Public disclosure of such
                                confidential and proprietary information could affect
18
                                Google’s competitive standing as competitors may alter
19                              their systems and practices relating to competing products.
                                It may also place Google at an increased risk of
20                              cybersecurity threats, as third parties may seek to use the
                                information to compromise Google’s internal practices
21                              relating to competing products.
22   Exhibit B (GOOG-CABR-      The information requested to be sealed contains Google’s
     00893711) at               highly confidential and proprietary information regarding
23                              highly sensitive features of Google’s internal systems and
     Entirety                   operations, including details related to the proprietary
24                              functionalities of Google’s services, that Google maintains
                                as confidential in the ordinary course of its business and is
25                              not generally known to the public or Google’s competitors.
26                              Such confidential and proprietary information reveals
                                Google’s internal strategies, system designs, and business
27                              practices for operating and maintaining many of its
                                important services, and falls within the protected scope of
28                              the Protective Order entered in this action. See Dkt. 81 at 2-

                                                2                  Case No. 4:20-cv-5146-YGR-SVK
                              TSE DECLARATION ISO PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR            Document 707        Filed 06/15/22      Page 4 of 5




 1                                          3. Public disclosure of such confidential and proprietary
                                            information could affect Google’s competitive standing as
 2                                          competitors may alter their systems and practices relating to
                                            competing products. It may also place Google at an
 3
                                            increased risk of cybersecurity threats, as third parties may
 4                                          seek to use the information to compromise Google’s internal
                                            practices relating to competing products.
 5    Exhibit C (GOOG-CABR-                 The information requested to be sealed contains Google’s
      00096597) at                          highly confidential and proprietary information regarding
 6                                          highly sensitive features of Google’s internal systems and
 7    Entirety                              operations, including various types of Google’s internal
                                            projects and services, and their proprietary functionalities,
 8                                          that Google maintains as confidential in the ordinary course
                                            of its business and is not generally known to the public or
 9                                          Google’s competitors. Such confidential and proprietary
                                            information reveals Google’s internal strategies, system
10                                          designs, and business practices for operating and
11                                          maintaining many of its important services, and falls within
                                            the protected scope of the Protective Order entered in this
12                                          action. See Dkt. 81 at 2-3. Public disclosure of such
                                            confidential and proprietary information could affect
13                                          Google’s competitive standing as competitors may alter
                                            their systems and practices relating to competing products.
14
                                            It may also place Google at an increased risk of
15                                          cybersecurity threats, as third parties may seek to use the
                                            information to compromise Google’s internal practices
16                                          relating to competing products.

17
            5.      Google’s request is narrowly tailored in order to protect its confidential information.
18
     These redactions are limited in scope and volume. Because the proposed redactions are narrowly
19
     tailored and limited to portions containing Google’s highly-confidential or confidential information,
20
     Google requests that the portions of the aforementioned documents be redacted from any public
21
     version of those documents.
22
            6.      Google has pared back Plaintiffs’ proposed redactions and does not seek to redact or
23
     file under seal any of the remaining portions of the Joint Submission not indicated in the table above.
24

25
            I declare under penalty of perjury of the laws of the United States that the foregoing is true
26
     and correct. Executed in San Francisco, California on June 15, 2022.
27

28

                                                     3                  Case No. 4:20-cv-5146-YGR-SVK
                                   TSE DECLARATION ISO PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR   Document 707       Filed 06/15/22        Page 5 of 5




 1 DATED: June 15, 2022                QUINN EMANUEL URQUHART &
                                       SULLIVAN, LLP
 2

 3

 4                                      By          /s/ Jonathan Tse
                                             Jonathan Tse
 5
                                             Attorney for Defendant
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                                            4                  Case No. 4:20-cv-5146-YGR-SVK
                          TSE DECLARATION ISO PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
